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 4
     Attorney for Defendant
 5   THOMAS KEYS
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                       Case No. 09-CR-0422 WBS
11                  Plaintiff,

12 v.
                                                       STIPULATION AND [PROPOSED] ORDER
13                                                     TO CONTINUE INITIAL APPEARANCE ON
     THOMAS KEYS, et al.                               REVOCATION PROCEEDINGS
14
                    Defendant.
15
16
17
                                               STIPULATION
18
            Plaintiff, United States of America, by and through its counsel, Assistant United States
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     Attorney Jean Hobler, and defendant, Thomas Keys, by and through his counsel, Erin J. Radekin,
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     agree and stipulate to vacate the date set for initial appearance on probation revocation proceedings,
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     January 17, 2012 at 9:30 a.m. and to continue such date to January 30, 2012 at 9:30 a.m. in the
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     courtroom of the Honorable William B. Shubb.
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            The reason for this request is that Ms. Radekin sustained a fracture in her foot which required
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     surgery on December 9, 2011, and she is on crutches until further determination of her doctor. She
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     also has a medical appointment relating to such injury on January 17, 2012 that poses a conflict with
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     the current date set for such proceeding. The court is advised that Ms. Hobler concurs with this
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     request and has authorized Ms. Radekin to sign this stipulation on her behalf. The court is further
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     advised that Ms. Radekin spoke with Mr. Keys’ probation officer Garey White and he has no
     objection to this continuance and indicated that he will notify Mr. Keys’ of the new date.
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 1          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 2   IT IS SO STIPULATED
 3   Dated: January 13, 2012                                BENJAMIN WAGNER
                                                            United States Attorney
 4
                                                     By:           /s/ Jean Hobler
 5                                                          JEAN HOBLER
                                                            Assistant United States Attorney
 6
 7   Dated: January 13, 2012                                      /s/ Erin J. Radekin
                                                            ERIN J. RADEKIN
 8                                                          Attorney for Defendant
                                                            THOMAS KEYS
 9
10
                                                   ORDER
11
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     initial appearance on revocation proceedings date of January 17, 2012 at 9:30 a.m. is VACATED
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     and the above-captioned matter is reset for initial appearance on revocation proceedings on January
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     30, 2012 at 9:30 a.m.
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     IT IS SO ORDERED.
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     Dated: January 13, 2012
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